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  1 Joseph R. Manning, Jr., Esq. (State Bar No. 223381)
    MANNING LAW, APC
  2 20062 S.W. Birch St., Suite 200
  3 Newport Beach, CA 92660
    Office: (949) 200-8755
  4 DisabilityRights@manninglawoffice.com
  5
    Attorneys for Plaintiff
  6 JAMES RUTHERFORD
  7
                          UNITED STATES DISTRICT COURT
  8                      CENTRAL DISTRICT OF CALIFORNIA
  9
 10 JAMES RUTHERFORD, an                    Case No.: 5:20-cv-01748-PA-SHK
 11 individual,
                                            Hon. Percy Anderson
 12 Plaintiff,
 13                                         NOTICE OF SETTLEMENT AND
    v.                                      REQUEST TO VACATE ALL
 14                                         CURRENTLY SET DATES
 15 PACIFIC OIL COMPANY LLC, a
    California limited liability company;   Complaint Filed: August 28, 2020
 16 and DOES 1-10, inclusive,
                                            Trial Date: None Set
 17
 18 Defendants.
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                                   NOTICE OF SETTLEMENT
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  1        The Plaintiff hereby notifies the Court that a global settlement has been
  2 reached in the above-captioned case and the Parties would like to avoid any
  3 additional expense, and to further the interests of judicial economy.
  4        The plaintiff, therefore, applies to this Honorable Court to vacate all currently
  5 set dates with the expectation that the Voluntary Dismissal with prejudice, as to all
  6 parties, will be filed within 45 days.
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  8
  9 Dated: October 29, 2020                        MANNING LAW, APC
 10
 11                                          By:   /s/ Joseph R. Manning, Jr. Esq.
                                                   Joseph R. Manning, Jr., Esq.
 12                                                Attorneys for Plaintiff
 13                                                James Rutherford

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                                    NOTICE OF SETTLEMENT
